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10                                UNITED STATES DISTRICT COURT

11                                     DISTRICT OF NEVADA

12   UNITED STATES OF AMERICA,                      ) Case No. 2:11-CR-434-LDG-(PAL)
                                                    )
13                   Plaintiff,                     )
                                                    )
14            v.                                    ) Stipulated Motion to Continue Discovery
                                                    ) (Third Request)
15   EDUARD PETROIU, et. al.,                       )
                                                    )
16                   Defendants.                    )
                                                    )
17                                                  )

18           COME NOW the parties and stipulate and jointly move this Court to continue the

19 discovery cut-off in the above-captioned case until December 31, 2016. Discovery in this case is

20 scheduled to end on September 30, 2016. The parties have already engaged in extensive ‘paper’

21 discovery including propounding interrogatories and requests for production of documents on the

22 Claimants, which have been, more or less answered by the Claimants. The United States has

23 received and analyzed large volumes of paper discovery from the Claimants, Atanas and Mariya

24 Nedyalkova, and was prepared to depose them. However, Claimants’ only recently returned from

25 a six month-long trip outside of the United States.

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 1           In addition, after reviewing thousands of pages of bank records, tax records and other

 2 financial documents, the United States has discovered that crucial financial documents have been

 3 omitted from the original discovery submission by the Claimants. Counsel for the Government

 4 has discussed this matter with Claimants’ counsel and the latter has agreed to search for and

 5 surrender those documents to the extent that they exist. Once those documents have been

 6 received by the Government, they must be reviewed and analyzed by the agency representatives

 7 for the Government who will then provide an analysis to the Government counsel of the

 8 relationship of those documents to the overall financial profile of the Claimants. Once the

 9 government receives this additional documentation from the Claimants, it will take several

10 weeks to conduct that analysis.

11           Finally, both Claimants are Bulgarian nationals and by their joint self-admissions, their

12 grasp of the English language is poor. Out of an abundance of caution, the United States has

13 decided to hire a Bulgarian interpreter so that the deposition testimony of the Claimants can be

14 properly transcribed. The United States has had tremendous difficulty in locating a local

15 translator to facilitate the accurate recordation of the Claimants’ deposition testimony. The

16 United States cannot utilize the services of the one or two local Bulgarian interpreters in Las

17 Vegas. For example, the government has attempted to procure the translation services of Las

18 Vegas Interpreters Connections, LLC., who have at least one Bulgarian interpreter on staff.

19 However, Las Vegas Interpreters has declined to provide their services to the Government

20 because they (Las Vegas Interpreters) insist that they be paid in advance, something that, by

21 statute, the Government cannot do. Our search has located one other Bulgarian interpreter who

22 works for the Nevada state court system. However, according to Claimants’ counsel, apparently

23 from past experience, the Claimants do not like or feel comfortable with him.

24           As such, the Government’s search for an interpreter has taken it well beyond the borders

25 of Nevada and also beyond the southwestern region of the country. The Government was only

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 1 recently able to locate the translation services of a Bulgarian interpreter located in Bellingham,

 2 Washington. The Government is currently in negotiations with that agency to ascertain whether

 3 they can and will send an interpreter from Washington state to Las Vegas at great expense to the

 4 Government.

 5          The parties do not anticipate the need for further continuances in this case.

 6          Given the foregoing, the parties have agreed to request that this Court extend the

 7 discovery cut-off deadline in this matter until December 31, 2016.

 8          This motion is not submitted solely for the purpose to delay or for any other improper

 9 purpose.

10          WHEREFORE, the parties move this Court to grant a continuance of the discovery cut-

11 off date until December 31, 2016, for the parties to complete discovery.

12          Dated this 29th day of September 2016.

13
                                                          Respectfully submitted,
14
                                                          DANIEL G. BOGDEN
15                                                        United States Attorney
16                                                        /s/Michael A. Humphreys
                                                          MICHAEL A. HUMPHREYS
17                                                        Assistant United States Attorney
18

19

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21                                                        IT IS SO ORDERED:
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25                                                                       DISTRICT JUDGE
                                                          UNITED STATES MAGISTRATE
                                                          LLOYD D. GEORGE
26
                                                          DATED:              September 2016



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